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                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7
     CHALISA KEEGSTRA,
 8
                                 Plaintiff,               Case No. C18-338 MJP
 9
            v.                                            ORDER GRANTING
10                                                        APPLICATION TO PROCEED IN
   NANCY A. BERRYHILL, Acting                             FORMA PAUPERIS
11 Commissioner of Social Security,

12                               Defendant.

13          The Court GRANTS plaintiff’s in forma pauperis application, Dkt. 1, and ORDERS:

14          (1)    Plaintiff shall be issued summonses.

15          (2)    Plaintiff is responsible for serving the complaint and summonses, and must file

16 proof of service as required by Rule 4 of the Federal Rules of Civil Procedure. Plaintiff may

17 effectuate service electronically as detailed in General Orders 04-15 and 05-15, by sending a

18 copy of the summonses and complaint, along with plaintiff’s identifying information, by email to

19 USAWAW.SSAClerk@usdoj.gov.

20          DATED this 7th day of March, 2018.

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23                                                        A
                                                          MARSHA J. PECHMAN
                                                          United States District Judge


     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
